Subject:    Andrews v. Tri Star Discovery
Date:       Tuesday, February 8, 2022 at 11:36:13 AM Central Standard Time
From:       Betsy Hart
To:         Daniel Arciniegas
CC:         Roland Mumford, Tara Swaﬀord
A7achments: image001.jpg, Tri Star .MSG Emails Reproduced as PDFs.pdf, Tri Star Proposed ProtecNve
            Order .docx

Daniel,

The .msg documents that were previously produced have been converted to PDFs. Those are attached with
new bates numbers.

We still have not received your client’s subsequent wage and income information that you indicated would be
produced by January 28. What is the status of that?

I have attached a revised proposed protective order that does not include a highly confidential designation
since, at this time, we do not plan to produce any documents that would fall into that category. By entering
into the attached protective order, Tri Star is not waiving its right to move for a new or amended protective
order that would include a highly confidential designation in the event it becomes necessary to produce
documents that should be designated at highly confidential and warrant greater protection. The proposed
order includes your requested changes that counsel can retain copies of all documents for a year after appeal
deadlines, and that the designating party is the one that should move for protection if there’s a dispute. Please
let me know if you can agree to this version of the protective order, with the understanding that Tri Star retains
its right to move for a new or amended order down the road if necessary, so that we can keep discovery
moving.

Please give me or Tara a call if you would like to discuss. Thanks.




Elizabeth “Betsy” Hart
321 Billingsly Ct., Suite 19
Franklin, TN 37067
615-599-8406 office
502-741-6831 cell
615-807-2355 fax
Note: This email may contain PRIVILEGED and CONFIDENTIAL information and is intended only for the use of the specific individual(s) to whom
it is addressed. Your receipt of this email is not intended to waive any applicable privilege. If you are not an intended recipient of this email, please
note that any unauthorized use or copying of this email or its contents is strictly prohibited. If you have received this email in error, please delete it
and notify the sender immediately.




        Case 3:21-cv-00526 Document 19-10 Filed 03/03/22 Page 1 of 1 PageID #: 146 Page 1 of 1
